Case 2:18-cv-00585-RFB-NJK Document 609-5 Filed 10/13/22 Page 1 of 4




     EXHIBIT E
          Statement of Work Number 3




     EXHIBIT E
                                                                       021
Case 2:18-cv-00585-RFB-NJK Document 609-5 Filed 10/13/22 Page 2 of 4




                                                                   022
                                                           AGA00313004
Case 2:18-cv-00585-RFB-NJK Document 609-5 Filed 10/13/22 Page 3 of 4




                                                                   023
                                                           AGA00313005
Case 2:18-cv-00585-RFB-NJK Document 609-5 Filed 10/13/22 Page 4 of 4




                                                                   024
                                                           AGA00313006
